                       UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF TENNESSEE


Russell G. Greer
                            Plaintiff,
v.                                                 Case No.: 3:18−cv−00394

Taylor A. Swift
                            Defendant,

                               ENTRY OF JUDGMENT

        Judgment is hereby entered for purposes of Rule 58(a) and/or Rule 79(a) of the
Federal Rules of Civil Procedure on 3/5/2019 re [23].


                                                                         Clerk of Court
                                                      s/ Dalaina Thompson, Deputy Clerk




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